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                             IN THE UNITED STATES DISTRICT COURT

                                       DISTRICT OF UTAH


YEDID LAWI, Individually, and on Behalf of          ORDER GRANTING STIPULATED
All Others Similarly Situated,                      MOTION EXTENDING TIME TO
                                                    RESPOND TO COMPLAINT
                       Plaintiff,

         v.                                         Case No. 2:18-cv-00541-DB

POLARITYTE, INC.; DENVER LOUGH;                     The Honorable Dee Benson
and JEFF DYER,

                       Defendants.




         PURSUANT TO THE STIPULATION OF THE PARTIES, and good cause appearing,

Defendants’ response to the Complaint shall not be due until after this Court appoints a lead

plaintiff and lead counsel, lead plaintiff serves an operative complaint, Defendants and lead

plaintiff agree to a schedule for Defendants to respond to the operative complaint and a schedule

for any anticipated briefing.

               IT IS SO ORDERED.

               Dated: August 1, 2018                 ____________________________
                                                     The Honorable Dee Benson
                                                     United States District Court Judge



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